Case 1:18-cv-02517-CMA-NRN Document 10 Filed 11/30/18 USDC Colorado Page 1 of 7
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Case 1:18-cv-02517-CMA-NRN Document 10y°Filed 11/30/18 USDC Colorado Page 7 of 7
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